  Case 18-60800-pmb                      Doc 7 Filed 07/04/18 Entered 07/05/18 01:35:12                                  Desc Imaged
                                              Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1               Abby Bruce Bryan                                                   Social Security number or ITIN        xxx−xx−2392
                       First Name   Middle Name   Last Name                               EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                          EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                      Date case filed for chapter 7 6/29/18
Case number:          18−60800−pmb


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                            12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take
action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand
repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive
damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors
can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want
to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the
deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the
address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access
charges may apply. A free automated response system is available at 866−222−8029 (Georgia Northern). You must have case
number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.
                                          About Debtor 1:                                     About Debtor 2:
1. Debtor's full name                     Abby Bruce Bryan
2. All other names used in the
   last 8 years
3. Address                                3647 Fair Hill Drive
                                          Bethlehem, GA 30620
4. Debtor's attorney                      Kevin J. Pratt
                                          Kevin J. Pratt , PC
   Name and address                       Suite D
                                          3461 Lawrenceville−Suwanee Road
                                          Suwanee, GA 30024

                                          Contact phone (770) 614−4811
                                          Email: kpratt@georgiatrials.com
5. Bankruptcy trustee                     Martha A. Miller                                    Contact phone 404−941−7360
                                          Martha Miller Law, LLC
   Name and address                       P. O. Box 5630
                                          Atlanta, GA 31107
                                                                                                                   For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                        page 1
  Case 18-60800-pmb                        Doc 7 Filed 07/04/18 Entered 07/05/18 01:35:12                                            Desc Imaged
                                                Certificate of Notice Page 2 of 3
Debtor Abby Bruce Bryan                                                                                                        Case number 18−60800−pmb


6. Bankruptcy clerk's office                    M. Regina Thomas                                               Office Hours: 8:00 a.m. − 4:00 p.m.
                                                Clerk of Court
    Documents in this case may be filed at                                                                     Court website: www.ganb.uscourts.gov
    this address. You may inspect all           1340 United States Courthouse
    records filed in this case at this office   75 Ted Turner Drive SW
    or online at www.pacer.gov.                                                                                Contact phone 404−215−1000
                                                Atlanta, GA 30303

7. Meeting of creditors                         August 6, 2018 at 09:30 AM                                     Location:

    Debtors must attend the meeting to be The meeting may be continued or adjourned to a                       Third Floor − Room 365, Russell Federal
    questioned under oath. In a joint case, later date. If so, the date will be on the court                   Building, 75 Ted Turner Drive SW,
    both spouses must attend. Bring a
    copy of this notice with you. Creditors docket.                                                            Atlanta, GA 30303
    may attend, but are not required to do
    so. Cellular phones and other devices TO THE DEBTOR: Bring an original government issued photo
    with cameras are not allowed in the     ID and confirmation of social security number. Provide the
    building.                               Trustee a copy of your most recently filed tax return seven days
                                            prior to the meeting, but DO NOT FILE WITH THE COURT.


8. Presumption of abuse                         The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                    File by the deadline to object to discharge or Filing deadline: 10/5/18
                                                to challenge whether certain debts are
    The bankruptcy clerk's office must          dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.                                  You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                              Filing deadline: 30 days after the conclusion of
                                                The law permits debtors to keep certain property as            the meeting of creditors
                                                exempt. If you believe that the law does not authorize an
                                                exemption claimed, you may file an objection.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a proof of
                                                claim now. If it later appears that assets are available to pay creditors, the clerk will send you
    Please do not file a proof of claim         another notice telling you that you may file a proof of claim and stating the deadline.
    unless you receive a notice to do so.


11. Creditors with a foreign                    If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking
    address                                     the court to extend the deadlines in this notice. Consult an attorney familiar with United States
                                                bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                                sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                                may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                                that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                                The bankruptcy clerk's office must receive the objection by the deadline to object to
                                                exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                    page 2
       Case 18-60800-pmb               Doc 7 Filed 07/04/18 Entered 07/05/18 01:35:12                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-60800-pmb
Abby Bruce Bryan                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: cornettj                     Page 1 of 1                          Date Rcvd: Jul 02, 2018
                                      Form ID: 309a                      Total Noticed: 15


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 04, 2018.
db             +Abby Bruce Bryan,    3647 Fair Hill Drive,   Bethlehem, GA 30620-4685
tr             +Martha A. Miller,    Martha Miller Law, LLC,   P. O. Box 5630,   Atlanta, GA 31107-0630
21650543       +Garner & Still,    PO Box 707,   Lawrenceville, GA 30046-0707
21650544       +Gs Bank Usa,    Po Box 45400,   Salt Lake City, UT 84145-0400
21650546       +Regional First Care,    420 College Street,   Macon, GA 31201-6707
21650547       +Robert R. Pagniello PC,    651 Exchange Place NW,   Lilburn, GA 30047-6857
21650548       +SST/Best Egg,    Attn: Bankruptcy,   4315 Pickett Rd,   Saint Joseph, MO 64503-1600

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: kpratt@georgiatrials.com Jul 02 2018 22:17:44      Kevin J. Pratt,
                 Kevin J. Pratt , PC,    Suite D,   3461 Lawrenceville-Suwanee Road,    Suwanee, GA 30024
ust            +E-mail/Text: ustpregion21.at.ecf@usdoj.gov Jul 02 2018 22:19:21
                 Office of the United States Trustee,    362 Richard Russell Building,    75 Ted Turner Drive, SW,
                 Atlanta, GA 30303-3315
21650540       +EDI: CHASE.COM Jul 03 2018 01:18:00      Chase Card Services,   Correspondence Dept,
                 Po Box 15298,    Wilmington, DE 19850-5298
21650541       +EDI: WFNNB.COM Jul 03 2018 01:18:00      Comenity Bank/Victoria Secret,    Attn: Bankruptcy Dept,
                 Po Box 182125,    Columbus, OH 43218-2125
21650545       +E-mail/Text: bk@lendingclub.com Jul 02 2018 22:20:40      Lending Club Corp,    71 Stevenson St,
                 Suite 300,    San Francisco, CA 94105-2985
21650549       +E-mail/Text: bankruptcy@lightstream.com Jul 02 2018 22:21:20      Suntrust,
                 655 W Broadway Ste 1300,    San Diego, CA 92101-8490
21650542        EDI: USBANKARS.COM Jul 03 2018 01:18:00      Elan Financial Service,    Attn: Bankruptcy,
                 Po Box 5229,    Cincinnati, OH 45201
21650552       +E-mail/Text: WFB.Bankruptcy@cabelas.com Jul 02 2018 22:21:46      Worlds Foremost Bank N,
                 Attn: Bankruptcy,    4800 Nw 1st St,   Lincoln, NE 68521-4463
                                                                                              TOTAL: 8

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21650551*        ++US BANK,   PO BOX 5229,   CINCINNATI OH 45201-5229
                  (address filed with court: United Community Bank,    PO Box 790408,                      Saint Louis, MO 63179)
21650550        ##+United Community Bank,   255 N Main St,   Cornelia, GA 30531-2123
                                                                                                                    TOTALS: 0, * 1, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 04, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 29, 2018 at the address(es) listed below:
              Kevin J. Pratt   on behalf of Debtor Abby Bruce Bryan kpratt@georgiatrials.com,
               Tina@georgiatrials.com
              Martha A. Miller   mmiller@mmillertrustee.com, mam@trustesolutions.net
              Office of the United States Trustee   ustpregion21.at.ecf@usdoj.gov
                                                                                            TOTAL: 3
